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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


GERNARD DENEZ CHESTNUT,

       Plaintiff,

v.                                              CASE NO. 3:20cv5679-MCR-HTC

CLEMMONS WALKER, et al.,

      Defendants.
________________________________/

                                    ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated September 2, 2020. ECF No. 7. Plaintiff was furnished

with a copy of the Report and Recommendation and was afforded an opportunity to

file an objection pursuant to Title 28, United States Code, Section 636(b)(1). I have

made a de novo determination of any timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The Magistrate Judge’s Report and Recommendation, ECF No. 7, is

adopted and incorporated by reference in this Order.
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      2.    Plaintiff’s complaint, ECF No. 1, be DISMISSED WITHOUT

PREJUDICE because Plaintiff is a three-striker under 28 U.S.C. § 1915(g) and for

abuse of the judicial process by failing to disclose Plaintiff’s complete litigation

history.


      3.    The clerk be directed to close this file.


      DONE AND ORDERED this 9th day of November 2020.




                                        s/ M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE




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